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UNITED STATES DISTRICT
COURT MIDDLE DISTRICT
OF PENNSYLVANIA
NOTICE

UNITED STATES OF AMERICA
v. Pp

JORDAN GEE

TYPE OF CASE: FELONY ‘CASE NO. 3:24-CR-128

TAKE NOTICE that a proceeding in this case has been SCHEDULED ‘for the
time and place listed below:

PLACE: UNITED STATES DISTRICT COURT
COURTROOM: No.1 .
MAX ROSENN U.S. COURTHOUSE
First Floor
197 South Main Street
Wilkes-Barre PA 18701

DATE AND TIME: May 29, 2024, at 11:00 a.m.

TYPE OF PROCEEDINGS: Initial Appearance and Arraignment |

DATE: May 15, 2024 PETER J. WELSH, Clerk of Court
s/Mary Rose Schirra tS
Deputy Clerk.

TO: HON. JOSEPH F. SAPORITO, JR., CHIEF U.S. MAGISTRATE JUDGE.
Kyle A. Moreno, AUSA

FPD

U.S. PROBATION
U.S. MARSHAL oy

